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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

                              )
UNITED STATES OF AMERICA,     ) Case No. CR 16-19-GF-BMM
                              )
         Plaintiff,           )
                              ) ORDER
    v.                        )
                              )
ENCORE SERVICES, LLC, ZACHARY )
BROOKE ROBERTS, MARTIN GASPER )
MAZZARA, and RICHARD LEE      )
BROOME                        )
                              )
         Defendants.          )


      Pursuant to this Court’s Order from March 7, 2017, the parties have met and

conferred, and after having reviewed the parties’ Joint Status Report submitted by

Defendants and Non-Party Robin Kovash, through counsel, IT IS HEREBY

ORDERED, that the previously issued Subpoena Duces Tecum to Robin Kovash

be modified as follows:

      Mr. Kovash shall produce:

      1. All Materials related to Wah-Kah-Yos Enterprise Development LLC;

      2. All Materials related to compensation or executive retention pertaining

to Neal Rosette, Billie Anne Morsette and the Encore entities listed in the

Subpoena;
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      3.     All Settlement agreements between the Chippewa Cree Tribe and

officers of Plain Green and FACR;

      4.     Severance agreements between the Chippewa Cree Tribe and Plain

Green or FACR;

      In connection with the above materials, Mr. Kovash will isolate materials be

believes may be privileged, and he shall prepare a related privilege log as

necessary;

      5.     Any and all emails in his possession between Mr. Kovash and/or Neal

Rosette and/or Billie Anne Morsette.

      Any materials Mr. Kovash believes may be privileged shall be submitted to

the court for an in camera review.

      6.     Mr. Kovash will produce all legal invoices related to legal work

performed for the Chippewa Cree Tribe in connection with any online lending

activity as well as any legal invoices related to legal work performed for Wah-Kah-

Yos Enterprise Development LLC.

      Again, Mr. Kovash will identify any such material deemed privileged and

prepare a privilege log as necessary. Any materials Mr. Kovash believes may be

privileged shall be submitted to the court for an in camera review.

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      7.     Mr. Kovash will be compensated by Defendants at the rate of

$300/hour for these efforts, with said compensation being capped at no more than

$5,000.00.   Said $5,000.00 shall be deposited into the David Z. Chesnoff,

Chartered, trust account, and Mr. Kovash will be compensated from said funds,

once Mr. Kovash submits an invoice through his attorney.

      IT IS FURTHER ORDERED that the foregoing materials shall be produced

by Mr. Kovash within fifteen (15) days after this Order is entered.

      IT IS FURTHER ORDERED that Mr. Kovash’s previously filed Motion to

Quash Subpoena Duces Tecum shall be withdrawn as moot.

      DATED this 15th day of March, 2017.




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ORDER
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